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                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE: PARAGARD PRODUCTS                       :       MDL DOCKET NO. 2974
LIABILITY LITIGATION                           :
                                               :
This document relates to:                      :       1:20-md-02974-LMM
ALYSSA SUE PATTERSON                           :
                                               :
vs.                                            :       Civil Action No.
                                               :
TEVA PHARMACEUTICALS USA,                      :
INC., ET AL.                                   :


                                 SHORT FORM COMPLAINT

       Come(s) now the Plaintiff(s) named below, and for her/their Complaint against the

Defendant(s) named below, incorporate(s) the Second Amended Master Personal Injury Complaint

(Doc No. 79), in MDL No. 2974 by reference. Plaintiff(s) further plead(s) as follows:

       1.      Name of Plaintiff placed with Paragard: ALYSSA SUE PATTERSON

       2.      Name of Plaintiff’s Spouse (if a party to the case): N/A

       3.      If case is brought in a representative capacity, Name of Other Plaintiff and capacity

               (i.e., administrator, executor, guardian, conservator): N/A

       4.      State of Residence of each Plaintiff (including any Plaintiff in a representative

               capacity) at time of filing of Plaintiff’s original complaint: OREGON

       5.      State of Residence of each Plaintiff at the time of Paragard placement:

               MASSACHUSETTS

       6.      State of Residence of each Plaintiff at the time of Paragard removal: OREGON

       7.      District Court and Division in which personal jurisdiction and venue would be proper:

               UNITED STATES DISTIRCT COURT FOR THE DISTRICT OF OREGON
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     8.      Defendants. (Check one or more of the following five (5) defendants against whom

             Plaintiff’s Complaint is made. The following five (5) Defendants are the only

             Defendants against whom a Short Form Complaint may be filed. No other entity may

             be added as a Defendant in a Short Form Complaint.):

     ☒       A.      Teva Pharmaceuticals USA, Inc.

     ☒       B.      Teva Women’s Health, LLC

     ☒       C.      Teva Branded Pharmaceutical Products R&D, Inc.

     ☒       D.      The Cooper Companies, Inc.

     ☒       E.      CooperSurgical, Inc.

     9.      Basis of Jurisdiction

     ☒        Diversity of Citizenship (28 U.S.C. § 1332(a))

     ☐        Other (if Other, identify below)



     10.

Date(s) Plaintiff    Placing Physicians(s) or other Date Plaintiff’s    Removal Physician(s)
had Paragard         Health Care Provider           Paragard was        or other Health Care
placed               (include City and State)       Removed             Provided (include
(DD/MM/YYYY)                                        (DD/MM/YYYY)        City and State)**
                                                    *                   **If multiple
                                                    *If multiple        removal(s) or
                                                    removals or         attempted removal
                                                    attempted removal   procedures, list
                                                    procedures, list    information
                                                    date of each        separately.
                                                    separately.
7/31/2015            Dr. Maura E. Keene             8/6/2021            Planned Parenthood
                     Northampton, MA                                    - Beaverton Health
                                                                        Center
                                                                        Beaverton, OR




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11.    Plaintiff alleges breakage (other than thread or string breakage) of her Paragard upon

       removal.

☒       Yes
☐       No

12.    Brief statement of injury(ies) Plaintiff is claiming:

       As a direct and proximate result of Defendants’ conduct, Plaintiff suffered and

       continues to suffer significant bodily and mental injuries, including but not limited to

       pain and suffering, mental anguish, disfigurement, embarrassment, inconvenience, loss

       of earnings, loss of reproductive health and past and potential future medical expenses.



       Plaintiff reserves her right to allege additional injuries and complications specific to

       her.

13.    Product Identification:

       a.      Lot Number of Paragard placed in Plaintiff (if now known): 514005

       b.      Did you obtain your Paragard from anyone other than the Healthcare

               Provider who placed your Paragard:

        ☐      Yes
        ☒      No

14.    Counts in the Master Complaint brought by Plaintiff(s):

☒      Count I – Strict Liability / Design Defect

☒      Count II – Strict Liability / Failure to Warn

☒      Count III – Strict Liability / Manufacturing Defect

☒      Count IV – Negligence

☒      Count V – Negligence / Design and Manufacturing Defect


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☒      Count VI – Negligence / Failure to Warn

☒      Count VII – Negligent Misrepresentation

☒      Count VIII – Breach of Express Warranty

☒      Count IX – Breach of Implied Warranty

☒      Count X – Violation of Consumer Protection Laws

☒      Count XI – Gross Negligence

☒      Count XII – Unjust Enrichment

☒      Count XIII – Punitive Damages

☐      Count XIV – Loss of Consortium

☐      Other Count(s) (Please state factual and legal basis for other claims not included in

the Master Complaint below):




15.    “Tolling/Fraudulent Concealment” allegations:

       a.     Is Plaintiff alleging “Tolling/Fraudulent Concealment”?

        ☒     Yes
        ☐     No

       b.     If Plaintiff is alleging “tolling/fraudulent concealment” beyond the facts

              alleged in the Master Complaint, please state the facts and legal basis

              applicable to the Plaintiff in support of those allegations below:

       Prior to having the ParaGard IUD implanted, Plaintiff’s healthcare providers told her

       ParaGard IUD was a device that could stay in place for 10 years, it was worry free, and

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      that she may have cramping or bleeding. She did not realize that she might have a

      cause of action regarding the ParaGard IUD. She contacted her lawyers after learning

      she might a claim



16.   Count VII (Fraud & Deceit) and County VIII (Fraud by Omission) allegations:

      a.      Is Plaintiff bringing a claim under Count VII (Fraud & Deceit), Count VIII

              (Fraud by Omission), and/or any other claim for fraud or misrepresentation?

       ☒      Yes
       ☐      No

      b.      If Yes, the following information must be provided (in accordance with

              Federal Rule of Civil Procedure 8 and/or 9, and/or with pleading requirements

              applicable to Plaintiff’s state law claims):

              i.      The alleged statement(s) of material fact that Plaintiff alleges was false:

                      Paragard, a reversible form of birth control, was safe and effective.

                      Paragard was safe and/or safer than other reversible birth control

                      products on the market.

             ii.      Who allegedly made the statement: Defendants

            iii.      To whom the statement was allegedly made:              Plaintiff and her

                      healthcare provider who implanted Paragard.

            iv.       The date(s) on which the statement was made: Defendants’ statements

                      are within the Paragard label and marketing materials at all relevant

                      times prior to implantation.

17.   If Plaintiff is bringing any claim for manufacturing defect and alleging facts beyond

      those contained in the Master Complaint, the following information must be provided:


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              a.     What does Plaintiff allege is the manufacturing defect in her Paragard? N/A

       18.    Plaintiff’s demand for the relief sought if different than what is alleged in the Master

              Complaint: N/A

       19.    Jury Demand:

       ☒       Jury Trial is demanded as to all counts

       ☐       Jury Trial is NOT demanded as to any count



                                             /s/ Laura V. Yaeger
                                             Attorney(s) for Plaintiff




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